                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

 IN RE:                                           )
                                                  )
 Simplicity Caterers, LLC                         )     Case No. 19-82798-CRJ11
                                                  )
          Debtor.                                 )     Chapter 11

                          ORDER CONVERTING CASE TO CHAPTER 7

         This matter came before the Court on June 24, 2020 for hearing on the Debtor’s Motion
 for Entry of Order Dismissing Chapter 11 Case (Doc. 132) and the Debtor’s Report to Court and
 Motion to Convert Case to a Chapter 7 Proceeding (Doc. 143). Proper notice of the hearing was
 given, and appearances were made by Tazewell T. Shepard IV on behalf of the Debtor, Kevin D.
 Heard as Subchapter V Trustee, Richard O’Neal on behalf of the Internal Revenue Service, and
 Richard M. Blythe on behalf of the Bankruptcy Administrator.

         Upon consideration of the pleadings, arguments of counsel, and the circumstances of this
 case, the Court finds that cause exists to convert this case to one under Chapter 7 pursuant to 11
 U.S.C. § 1112.

       It is therefore ORDERED, ADJUDGED and DECREED that the Debtor’s Motion to
 Convert Case to Chapter 7 is APPROVED and this case is hereby converted to a Chapter 7 case.
 The Debtor’s Motion to Dismiss is MOOT.

 Dated this the 25th day of June, 2020.


                                                        /s/ Clifton R. Jessup, Jr.
                                                        Clifton R. Jessup, Jr.
                                                        United States Bankruptcy Judge




 Order Prepared by:
 Richard M. Blythe
 Attorney for the Bankruptcy Administrator




Case 19-82798-CRJ7           Doc 153       Filed 06/25/20 Entered 06/25/20 10:03:30       Desc Main
                                          Document     Page 1 of 1
